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                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 9   JOSEPH J. HESKETH III, on his behalf               No. 2:20-cv-01733
     and on behalf of other similarly situated
10   persons,                                           NOTICE OF REMOVAL
11                          Plaintiff,
12            v.
13   TOTAL RENAL CARE, INC., on its own
     behalf and on behalf of other similarly
14   situated persons,
15                          Defendants.
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17   TO:      THE CLERK AND HONORABLE JUDGES OF THE UNITED STATES
              DISTRICT COURT FOR THE WESTERN DISTRICT OF WASHINGTON
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              Pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §§ 1332(d),
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     1441, 1446, and 1453, Defendant Total Renal Care, Inc. (“Defendant” or “TRC”) removes this
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     action to this Court from the Superior Court of the State of Washington for King County. In
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     support of this Notice, TRC respectfully states:
22
                                            STATE COURT ACTION
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              1.     Plaintiff Joseph J. Hesketh III (“Plaintiff”) commenced this action on October 22,
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     2020, by filing a Complaint for Damages in the Superior Court of the State of Washington for
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     King County, where it was assigned Case No. 20-2-15575-6 SEA. TRC was served with the
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      NOTICE OF REMOVAL                                                        Perkins Coie LLP
      (No. 2:20-cv-01733) –1                                             1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
     150179443.1                                                              Fax: 206.359.9000
 1   Summons and Complaint on October 26, 2020. No further proceedings in this matter have been
 2   held in the Superior Court for King County.
 3            2.     Plaintiff’s Complaint alleges a single breach of contract claim and seeks related
 4   damages along with prejudgment interest on any liquidated damages. Complaint (“Compl.”) at
 5   ¶¶ 54, 57-58.
 6                                         GROUNDS FOR REMOVAL
 7            3.     This action is removeable under 28 U.S.C. § 1441 because the Court has original
 8   jurisdiction under CAFA. See 28 U.S.C. §§ 1332(d)(2) and 1453(b) (setting procedure for
 9   removing class actions).
10            4.     CAFA allows defendants to remove class actions to federal court if three
11   conditions are met: “[1] there must be minimal diversity of citizenship between the parties; [2]
12   the proposed class must have at least 100 members; and [3] the aggregated amount in
13   controversy must equal or exceed … $5 million.” Jordan v. Nationstar Mortg. LLC, 781 F.3d
14   1178, 1182 (9th Cir. 2015). Indeed, when passing CAFA, the Senate Judiciary Committee
15   explained, “[b]ecause interstate class actions typically involve more people, more money, and
16   more interstate commerce ramifications than any other type of lawsuit, the Committee firmly
17   believes that such cases properly belong in federal court.” S. Rep. No. 109-14, at 5 (2005).
18            5.     This action satisfies all three of CAFA’s removal requirements.
19                                          There is Minimal Diversity
20            6.     CAFA’s diversity requirement is met when “any member of a class of plaintiffs is
21   a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).
22            7.     Plaintiff Hesketh is a citizen of, and resides in, the State of Washington. Compl.
23   ¶ 17.
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                                                                            Seattle, WA 98101-3099
                                                                              Phone: 206.359.8000
     150179443.1                                                               Fax: 206.359.9000
 1            8.      Defendant TRC is incorporated under the laws of the State of California and its
 2   principal place of business is in the State of Colorado. Defendant is therefore a citizen of
 3   Colorado and California.1 See 28 U.S.C. § 1332(c)(1).
 4            9.      CAFA’s diversity requirement is satisfied because Plaintiff and Defendant are
 5   citizens of different states.
 6                                There are More than One Hundred Class Members
 7            10.     The proposed class includes “all non-exempt employees” who worked for
 8   Defendant “on and after January 31, 2020” and “were not paid the premium pay equal to 1/2
 9   times their based rates for any work performed after the declaration of emergency.” Compl. ¶ 27.
10            11.     This class contains “hundreds, if not thousands of individuals.” Compl. ¶ 28.
11            12.     A class of “hundreds, if not thousands” is sufficiently large to satisfy the CAFA’s
12   at least 100-member class size requirement.
13                            The Amount in Controversy Exceeds Five Million Dollars
14            13.     Plaintiff does not plead a specific amount in controversy, so Defendant need only
15   make “a plausible allegation that the amount in controversy exceeds the jurisdictional threshold.”
16   Ibarra v. Manheim Investments, Inc., 775 F.3d 1193, 1195 (9th Cir. 2015) (citing Dart Basin
17   Operating Co. v. Owens, ––– U.S. ––––, 135 S.Ct. 547, 554, 190 L.Ed.2d 495 (2014)).
18            14.     “[A] defendant satisfies the amount-in-controversy requirement under CAFA if it
19   is reasonably possible that it may be liable for the proffered punitive damages amount.” Greene
20   v. Harley-Davidson, Inc., 965 F.3d 767, 772 (9th Cir. 2020). Undisputed declarations identifying
21   an amount in controversy greater than five million dollars are sufficient to establish CAFA’s
22   amount in controversy requirement is met. See Watkins v. Vital Pharm., Inc., 720 F.3d 1179,
23   1181 (9th Cir. 2013).
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26            1
              TRC’s parent company, DaVita (not named as a defendant), is incorporated under the laws of the State of
     Delaware and its headquarters are located in Colorado.

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     150179443.1                                                                        Fax: 206.359.9000
 1            15.     Plaintiff alleges Defendant breached an agreement by failing to pay class
 2   members premium pay for the regularly schedule hours worked after a national emergency was
 3   declared on January 31, 2020, and seeks damages flowing from this alleged breach. Compl. ¶¶
 4   13, 54, 57.
 5            16.     Premium pay (.5 times regular base rate) for the regular hours worked by putative
 6   class members in Washington from January 31, 2020 through October 31, 2020 amounts to more
 7   than $23 million. See Declaration of Carol Strong (“Strong Decl.”) at ¶ 4. Premium pay (.5
 8   times regular base rate) for the regular hours worked by putative class members in Washington
 9   between January 31, 2020 and the change to the Disaster Relief Policy on March 31, 2020, totals
10   $5,082,320. Id. at ¶ 6.
11            17.     The calculations—$23 million or $5.08 million—satisfy CAFA’s amount in
12   controversy requirement for even just a single state and no matter which of the two time periods
13   are used.
14                    None of CAFA’s Jurisdictional Exceptions Bar Removal of This Case
15            18.     This action does not fall within any of the CAFA’s jurisdictional exceptions that
16   bar removal.
17            19.     Under CAFA, federal courts must decline to exercise jurisdiction over class
18   actions where (1) more than two-thirds of the proposed plaintiff class members are citizens of the
19   state in which the action was originally filed, (2) at least one defendant is a citizen of the state in
20   which the action was originally filed, and (3) the principal injuries resulting from the alleged
21   conduct were incurred in the state where the action was originally filed. See 28 U.S.C. §
22   1332(d)(4)(A).
23            20.     This action does not meet these requirements: Defendant TRC is not a citizen of
24   Washington state, where the action was originally filed. Compl. ¶ 18.
25            21.     Finally, none of CAFA’s subject-matter exceptions to federal jurisdiction apply
26   because the Complaint does not bring claims involving securities or corporate governance. See

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     150179443.1                                                                  Fax: 206.359.9000
 1   28 U.S.C. §§ 1332(d)(9), 1453(d) (both explaining § 1332(d)(2) does not apply to cases arising
 2   under certain sections of the Securities Act of 1933, the Securities Exchange Act of 1934, or
 3   state corporate governance laws).
 4                      ACTION REMOVABLE AND INTRADISTRICT ASSIGNMENT
 5            22.   This action is removeable to this Court under 28 U.S.C. § 1441 because this Court
 6   would have had original jurisdiction over Plaintiff’s claim had it been initially filed in federal
 7   court. This Court is the district court of the United States for the district and division “embracing
 8   the place where [the state court] action is pending,” and is therefore the appropriate court for
 9   removal. 28 U.S.C. § 1441(a).
10            23.   TRC chooses to remove this action to the Seattle Division of this Court because,
11   as pled, Plaintiff’s claims arose in King County and the action is pending there. See Compl. ¶ 19,
12   20; LCR 3(e)(1).
13            24.   This Notice is filed with the Court within thirty days after TRC received the
14   Complaint, in accordance with 28 U.S.C. § 1446(b). See also 28 U.S.C. § 1453(b) (explaining
15   class actions may be removed in accordance with § 1446).
16                                              PLEADINGS FILED
17            25.   Copies of all process and pleadings filed in this case and found in the files of the
18   Superior Court of the State of Washington for King County are attached to the Verification of
19   State Court Record filed with this Notice. See LCR 101(b).
20
     DATED: November 23, 2020                           By: s/ Chelsea Dwyer Petersen
21
                                                        Chelsea Dwyer Petersen #33787
22                                                      Attorney for Defendant Total Renal Care, Inc.
                                                        Perkins Coie LLP
23                                                      1201 Third Avenue, Suite 4900
                                                        Seattle, WA 98101-3099
24                                                      Telephone: 206.359.8000
                                                        Facsimile: 206.359.9000
25                                                      Email: CDPetersen@perkinscoie.com

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                                                                             Seattle, WA 98101-3099
                                                                               Phone: 206.359.8000
     150179443.1                                                                Fax: 206.359.9000
 1                                     CERTIFICATE OF SERVICE
 2            I hereby certify under penalty of perjury that on November 23, 2020, I electronically filed
 3   the foregoing NOTICE OF REMOVAL with the Clerk of the Court using the CM/ECF system,
 4   which will send notification of such filing to the following:
 5
 6      Christina L Henry, WSBA 31273
        Email: chenry@hdm-legal.com                         Via Hand Delivery
 7      HENRY & DEGRAAFF, PS                                Via U.S. Mail, 1st Class, Postage
        787 Maynard Ave S                                      Prepaid
 8      Seattle, WA 98104                                   Via Overnight Courier
        Telephone: 206-330-0595                             Via Facsimile
 9                                                      X   Via E-Filing
        Facsimile: 206-400-7609
10      Attorney for Plaintiffs

11      J. Craig Jones                                      Via Hand Delivery
        Pro Hac Vice Forthcoming                            Via U.S. Mail, 1st Class, Postage
12
        Email: craig@joneshilllaw.com                          Prepaid
13      JONES & HILL, LLC                                   Via Overnight Courier
        131 Highway 165 South                               Via Facsimile
14      Oakdale, LA 71463
        Telephone: 318-335-1333                         X   Via E-Filing
15
        Facsimile: 318-335-1934
16      Attorney for Plaintiffs

17      Scott C. Borison                                    Via Hand Delivery
        Pro Hac Vice Forthcoming                            Via U.S. Mail, 1st Class, Postage
18      Email: scott@borisonfirm.com                           Prepaid
        BORISON FIRM, LLC                                   Via Overnight Courier
19
        1900 S. Norfolk Rd. Suite 350                       Via Facsimile
20      San Mateo CA 94403
        Telephone: 301-620-1016                         X   Via E-Filing
21      Facsimile: 301-620-1018
        Attorney for Plaintiffs
22

23
              DATED this 23rd day of November 2020 in Seattle, Washington.
24

25                                          s/ Kyle Koats
                                            Kyle Koats, Legal Practice Assistant
26

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                                                                             Seattle, WA 98101-3099
                                                                               Phone: 206.359.8000
     150179443.1                                                                Fax: 206.359.9000
